
By the Court.—Ingraham, J.
The appellants relied on two exceptions taken to the admission of evidence.
The first exception is to the ruling of the court overruling an objection to a question asked of the plaintiff as to offers that he had received for the property in 1871, or 1872. That this evidence was incomplete to prove the value of the property is clear, but the value of the property in 1871 or 1872 was *378not the main issue involved in the case, and while we think it was error to overrule the objection it does not follow that the judgment should be reversed. As was said in McGean v. The Manhattan R. R. Co., 27 State Reporter, 339. “ The court must be satisfied upon an examination of the whole case that the appellant was prejudiced by the admission of the evidence to warrant a reversal.”
This was an action in equity for an injunction to restrain-a continuing trespass. The evidence justified the judgment for an injunction, and at the request of defendants the court undertook to ascertain the value of the premises appropriated by the defendants, so that on the payment of the value of such property the injunction could be dissolved. The amount which the court fixed as the value of the property appropriated by the defendants was abundantly sustained by competent evidence. An examination of the case has convinced us that the defendants were not prejudiced by this- testimony.
The same may be said of the other testimony, an exception to the admission of which, the defendants rely on. The defendants’ witness Hawes also testified to the sale ; there was a difference between them of only $500, Martine saying it sold for $29,000, and Hawes, the defendants’ expert, saying that it sold for $29,500. Whether it was one or other was evidently immaterial. The question as to the right of the defendants in a street opened during the occupation of this city by the Dutch is settled in this court, and we have nothing to do but follow former decisions.
On the whole case we think that no error was committed which calls for a reversal, and the judgment should be affirmed with costs.
Freedman, J., concurred.
